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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

NIKKI STEINER MAZZOCCHIO and
ANGELA STEINER KRAUS,

                       Plaintiffs,

               v.                                        Case No. 4:22-cv-00292-MTS

       COTTER CORPORATION et al.,

                       Defendants


           NOTICE OF FILING NOTICE OF REMOVAL TO STATE COURT

       Pursuant to E.D. Mo. Local Rule 2.03, Defendant Cotter Corporation (N.S.L.) hereby

files the Notice of Filing and Service of the Notice of Removal previously filed with the Circuit

Court of St. Louis County, State of Missouri, as acknowledged by the Clerk of the State Court.

A true and correct copy of said notice is attached.

       Dated: March 18, 2022                  Respectfully submitted,

                                              /s/ Brian O. Watson            .
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                                              ATTORNEYS FOR DEFENDANT
                                              COTTER CORPORATION (N.S.L.)



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                                 CERTIFICATE OF SERVICE

       I certify that on March 18, 2022, these papers were served upon all counsel of record via

the Court’s electronic filing system.

                                            Respectfully submitted,

                                            /s/ Brian O. Watson            .
                                            RILEY SAFER HOLMES & CANCILA LLP
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